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                             UNITED STATES DISTRICT COURT

                      FOR THE NORTHERN DISTRICT OF NEW YORK



 COMPASS GROUP USA, INC., a Delaware                   Case No. 1:21-cv-801 (BKS/ML)
 corporation, and MAZZONE HOSPITALITY,
 LLC, a New York limited liability company,            COMPLAINT FOR UNFAIR
                                                       COMPETITION, TRADEMARK
                        Plaintiffs,                    DILUTION, AND UNFAIR AND
                                                       DECEPTIVE TRADE PRACTICES
                v.
                                                       JURY TRIAL DEMANDED
 MATTHEW MAZZONE, an individual, SUZY
 MAZZONE, an individual, and MAZZONE
 WEDDING GROUP, LLC a New York limited
 liability company,

                        Defendants.


       Plaintiffs Compass Group USA, Inc. (“Compass”) and Mazzone Hospitality, LLC (“MH

LLC”) (collectively, “Plaintiffs”), by and through undersigned counsel, for their complaint

against defendants Matthew Mazzone (“Mr. Mazzone”), Suzy Mazzone (“Mrs. Mazzone”), and

Mazzone Wedding Group, LLC (“Mazzone Wedding Group”) (collectively, “Defendants”) for

false designation of origin, unfair competition, and state trademark infringement, state trademark

dilution, and false and deceptive claims, plead and allege as follows:


                           NATURE AND BASIS OF THE ACTION

       1.      Compass is a leading foodservice and support service company, having earned a

reputation for its offering of large-scale corporate catering, stadium concessions, and food

service for, among others, the education and healthcare communities.

       2.      Compass expanded its services in 2017 to include wedding and events catering

through Compass’s acquisition of Mazzone Hospitality and Mazzone Catering (the

“Acquisition”), which were started by Angelo Mazzone in the Albany, New York area in 1980.

       3.      Through the Acquisition, Plaintiffs became owners of all rights in the names,
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trademarks, trade names, service marks, logos, insignias, and designations MAZZONE

HOSPITALITY and MAZZONE CATERING (the “MAZZONE” Marks). Although the

ownership of the business changed upon the Acquisition, Plaintiffs, working closely with Angelo

Mazzone, continue to offer the same unsurpassed events and quality catering services long

offered under the MAZZONE Marks.

       4.      Plaintiffs recently became aware that Angelo Mazzone’s son, Defendant Matthew

Mazzone (who previously worked for his father’s business and then for Plaintiffs following the

Acquisition), and his wife Defendant Suzy Mazzone, have started, in the Albany, New York

area, a competing wedding and events business using the names Mazzone Wedding Group and

Mazzone Weddings. Defendants advertise this competing business as being “family owned and

operated,” tout Mr. Mazzone’s prior experience with Mazzone Hospitality, and use the

confusingly similar service marks MAZZONE WEDDING GROUP and MAZZONE

WEDDINGS (the “MAZZONE WEDDING GROUP Marks”) in promoting their competing

business.

       5.       Plaintiffs bring this action to stop Defendants from continuing to unlawfully

misappropriate the valuable service marks, trade names, and designations owned by Plaintiffs

and used by Plaintiffs in offering the trend-setting and high-quality wedding and events services

that Plaintiffs, and their predecessors in interest, have long provided in the Albany, New York

area under the MAZZONE Marks.

       6.      More specifically, Plaintiffs assert claims under the Lanham Act, 15 U.S.C. §

1125(a), state common law, and Section 349 and 360-1 of New York General Business Law

against Defendants, and seek preliminary and permanent injunctive relief and damages relating

to Defendants’ unauthorized and unlawful use of the MAZZONE WEDDING Marks in
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connection with hospitality and event services.

        7.      Unless Defendants’ infringing acts are preliminarily and permanently enjoined,

Plaintiffs will suffer irreparable injury for which there is no adequate remedy at law.

                                                PARTIES

        8.      Plaintiff Compass Group USA, Inc. is a corporation organized under the law of

the State of Delaware with a place of business at 2400 Yorkmont Road, Charlotte, North

Carolina 28217.

        9.      Plaintiff Mazzone Hospitality, LLC is a limited liability company organized under

the law of the State of New York, with a place of business at 2400 Yorkmont Road, Charlotte,

North Carolina 28217. Mazzone Hospitality a subsidiary of Compass Group.

        10.     On information and belief, Defendant Mazzone Wedding Group, LLC is a limited

liability company organized under the law of the State of New York with its principal place of

business at 743 Albany Shaker Road, Latham, New York 12110, and is engaged in the business

of catering and hospitality services in interstate commerce in and around the area of Albany,

New York.

        11.     On information and belief, Defendants Matthew Mazzone and Suzy Mazzone are

individuals residing at 2 Lavant Lane, Bunt Hills, New York 12027. On information and belief,

Mr. Mazzone and Mrs. Mazzone are members and managers of Mazzone Wedding Group and,

as such, have the right and ability to supervise Mazzone Wedding Group’s infringing activities,

actually do direct and supervise Mazzone Wedding Group’s infringing activities, and also have a

direct financial interest in such activities.

                                  JURISDICTION AND VENUE

        12.     The Court has subject matter jurisdiction over the federal false designation of
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origin and unfair competition claims pursuant to the Lanham Act, 15 U.S.C. §§ 1121 and

1125(a), and 28 U.S.C. §§ 1331 and 1338(a) and (b). The Court has supplemental jurisdiction

over the claims arising under state law pursuant to 28 U.S.C. § 1367.

        13.     The Court has personal jurisdiction over Defendants because, upon information

and belief, Defendants are present and doing business in the State of New York either directly or

through their agents or, alternatively, because Defendants are subject to personal jurisdiction

under the principles set forth in New York Civil Practice Law and Rules § 302.

        14.     Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391 because

Defendants are subject to personal jurisdiction in this Judicial District and because a substantial

part of the events giving rise to Plaintiffs’ claims occurred in this Judicial District.

                        ALLEGATIONS COMMON TO ALL CLAIMS

        A.      The MAZZONE Brand and Plaintiffs’ Rights in the MAZZONE Marks

        15.     Mazzone Hospitality and Mazzone Catering trace their roots to 1980, when

Angelo Mazzone purchased Peggy’s restaurant in Schenectady, New York. Angelo Mazzone

grew the business to offer not only restaurant services but to also provide catering.

        16.     Based on his desire to offer catering services on an even larger scale, in 1988,

Angelo Mazzone purchased and renovated Glen Sanders Mansion, a historic mansion on the

banks of the Mohawk River, in Scotia, New York, which is about twenty miles west of Albany,

New York, and later added an inn to the mansion. The mansion quickly became known as a

premiere wedding and events venue, providing guests with full-service catering and planning, as

well as lodging, for weddings and receptions and business meetings and events.

        17.     Following the purchase of Glen Sanders Mansion, Angelo Mazzone also started

providing catering at off-site events, and over time became the exclusive caterer at many large
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venues in Upstate, New York, including Hall of Springs in Saratoga, Empire State Plaza in

Albany, Prime at Saratoga National, Fasig-Tipton in Saratoga Springs, Key Hall at Proctors in

Schenectady, 90 State in Albany, and Hilton Garden Inn-Clifton Park.

        18.   Angelo Mazzone built a reputation on sourcing the highest quality ingredients, a

commitment to excellent service, a passion for providing people with an unforgettable dining

experience, and a dedication to giving back to the local community.

        19.   Angelo Mazzone grew Mazzone Hospitality to become a culinary empire in the

Upstate, New York area. It has been characterized as “the dominant restaurant and catering

company in the Capital Region” (Capitol Region Chamber, May 11, 2017), and the “largest local

caterer” (The Daily Gazzette, January 16, 2013) by the press. Moreover, the press has called

Angelo Mazzone “a dining powerhouse in the Capital Region” (Times Union, July 11, 2017) and

“the Capital Region’s most recognized restauranteur” (Business Review, November 18, 2011),

and Angelo Mazzone and his businesses have won numerous awards.

        20.   After decades of hard work in building the highly-respected and well-known

MAZZONE brand, in 2017 Angelo Mazzone decided to sell his catering and executive events

businesses, including the MAZZONE Marks, to a fellow leader in the foodservice industry,

Plaintiffs.

        21.   On May 8, 2017, Angelo Mazzone, by and through his companies Mazzone

Management Group, Ltd. and Mazzone Management, Inc. (the “Mazzone Entities”), entered into

an asset purchase agreement with Plaintiffs for the sale of the Mazzone Hospitality and Mazzone

Catering businesses (the “Asset Purchase Agreement”).

        22.   The terms of the sale in the Asset Purchase Agreement provide for the transfer of

certain intellectual property from Angelo Mazzone and the Mazzone Entities to Plaintiffs,
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including “[a]ll rights, title and interest of Sellers in any inventions, trade secrets, know-how,

recipes, proprietary processes and formulae, and similar information relating primarily to

[Plaintiffs], including any trade names, trademarks, service marks, any applications and

registrations therefor, all registered and unregistered copyrights, internet web sites, social media

presences and internet domain names owned and used by Sellers as of the Closing Date related to

the Purchased Business, all as listed on Schedule 1(d).” Schedule 1(d) of the Asset Purchase

Agreement entitled “Transferred Intellectual Property” specifically enumerates the following

trade names: (1) Mazzone Catering and (2) Mazzone Hospitality.

       23.     There is no question, therefore, that by virtue of the Asset Purchase Agreement,

Plaintiffs own the Mazzone Entities’ rights, and all associated goodwill, in the MAZZONE

Marks under which Plaintiffs currently advertise, market, offer, and provide hospitality and

catering services, including wedding and event planning and catering.

       24.     Following the acquisition of assets from Angelo Mazzone and the Mazzone

Entities, Plaintiffs have continued offering, in interstate commerce in and around the Albany,

New York, area, the same high-quality wedding and event planning and catering services under

the trade names Mazzone Hospitality and Mazzone Catering, with Angelo Mazzone still closely

involved in the business.

       25.     Plaintiffs promote their catering events services through various media, including

on their Mazzone Hospitality and Mazzone Catering websites at https://mazzonehospitality.com/

and https://mazzonecatering.com/, the websites for the venues where Mazzone Hospitality is the

exclusive caterer, social media, in wedding magazines, and at wedding shows. Printouts of

example pages from Plaintiffs’ Mazzone Hospitality and Mazzone Catering websites are

attached as Exhibits A and B, respectively. Even though Plaintiffs’ services under the
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MAZZONE Marks are offered primarily in and around the Upstate New York, area, Plaintiffs’

customers and vendors include persons from outside the State of New York, and Plaintiffs’

activities occur in interstate “commerce” as that term is defined in Section 45 of the Lanham Act,

15 U.S.C. §1127.

       26.     Based on Plaintiffs’ and their predecessors-in-interest’s long use, advertising, and

promotion of services under the MAZZONE Marks, the MAZZONE Marks have acquired

enormous goodwill and have come to be immediately identified with Plaintiffs as the source of

their hospitality and catering services.

       27.     In addition to common law rights from extensive use, Compass owns the

following pending U.S. federal trademark applications for the MAZZONE Marks:

                  MAZZONE HOSPITALITY (App. Ser. No. 90/579,735) in connection with

                   “catering services”; and

                  MAZZONE CATERING (App. Ser. No. 90/579,700) in connection with

                   “catering services.”

Copies of these applications are attached as Exhibit C.

   B. Defendants’ Unlawful Acts

       28.     Matthew Mazzone was an employee of his father’s company prior to the

Acquisition by Plaintiffs, and became an employee of Plaintiffs after the Acquisition.

       29.     In connection with the Asset Purchase Agreement, Plaintiffs entered into an

employment agreement with Mr. Mazzone, providing for a generous compensation package

including an annual salary, bonus plan, and car allowance. The agreement also included a

prohibition of Mr. Mazzone competing with Plaintiffs or soliciting Plaintiffs’ customers

following Mr. Mazzone’s departure from Plaintiffs’ employ.
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       30.     On or around April 7, 2020, Mr. Mazzone left the employment of Mazzone

Hospitality and signed a separation agreement that prohibited him from soliciting Plaintiffs’

customers or employees for a competing business for eighteen months.

       31.     On information and belief, a week after Mr. Mazzone left Mazzone Hospitality,

he registered the domain name MazzoneWeddings.com, despite the non-compete and non-

solicitation provisions under his employment and separation agreements with Plaintiffs.

       32.     On information and belief, sometime in early 2021, Mr. Mazzone and Mrs.

Mazzone launched Mazzone Wedding Group in Upstate New York, in or around the same

vicinity as Mazzone Catering and Mazzone Hospitality, and started using the MAZZONE

WEDDING Marks in connection with offering wedding and event planning and catering

services. On information and belief, Defendants’ services under the MAZZONE WEDDING

Marks are offered in interstate “commerce” as that term is defined in Section 45 of the Lanham

Act, 15 U.S.C. §1127.

       33.     On information and belief, Mr. Mazzone is the owner and President of Mazzone

Wedding Group, and his co-owner, Mrs. Mazzone, is the Vice President.

       34.     On information and belief, Mr. Mazzone and Mrs. Mazzone selected the

MAZZONE WEDDING Marks, and in their roles as owners and President and Vice President of

Mazzone Wedding, have authorized and approved of the use of those Marks.

       35.     In adopting the trade name Mazzone Wedding Group and the MAZZONE

WEDDING Marks, Mr. Mazzone and Mrs. Mazzone were clearly aware of Plaintiffs’ use of and

strong prior rights in the MAZZONE Marks, based on Mr. Mazzone’s prior employment with his

father and Plaintiffs, as well as their knowledge of the Asset Purchase Agreement.

       36.     Defendants nevertheless chose a trade name and service marks confusingly
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similar to Plaintiffs’ MAZZONE Marks, in an attempt to trade off of, and free ride upon, the

goodwill in the MAZZONE brand, and to create an association with Plaintiffs’ business.

       37.     Defendants’ intent to create an association with the MAZZONE Marks and

Plaintiffs is clear in Defendants’ marketing.

       38.     Indeed, in promoting their competing services on the Mazzone Wedding Group

website, https://www.mazzoneweddings.com, Defendants tout Mr. Mazzone’s experience as

“Former CFO & COO of Mazzone Hospitality,” and reference Mr. Mazzone “[j]oining the

family business at a young age.” The website further discusses Mr. Mazzone’s experience in “the

family business” and advertises Mazzone Wedding Group as a “family owned and operated

catering company.” A printout of Defendants’ Mazzone Wedding Group website is attached as

Exhibit D.

       39.     Unsurprisingly, Defendants’ use of the Mazzone Wedding Group trade name and

MAZZONE WEDDING Marks has resulted in instances of actual confusion.

       40.     For example, a vendor emailed both Mazzone Hospitality and Defendants,

apparently believing the two companies were related.

       41.     Similarly, a photographer tagged both Mazzone Hospitality and Defendants in a

post about a wedding catered by Plaintiffs.

       C. Plaintiffs’ Attempts to Resolve This Dispute

       42.     On March 10, 2021, Plaintiffs’ in-house counsel sent Mr. Mazzone a letter

reminding him of his post-employment obligations to Plaintiffs, including to refrain from: (i)

using Plaintiffs’ confidential information, soliciting or selling to Plaintiffs’ customers, and (ii)

soliciting or hiring Plaintiffs’ employees. The letter also warned Mr. Mazzone of Plaintiffs’

concern that his recently-launched competing wedding business would breach his contractual
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post-employment obligations.

        43.     On March 22, 2021, Plaintiffs’ in-house counsel sent Mr. Mazzone another letter,

expressing Plaintiffs’ concerns that Mr. Mazzone’s use of the confusingly similar Mazzone

Wedding Group mark was likely to cause consumer confusion and would violate Plaintiffs’

trademark rights under federal and state law. The letter requested that Mr. Mazzone cease and

desist use of the name “Mazzone” or any substantially similar mark in connection with a catering

business in New York.

        44.     When Plaintiffs did not receive satisfactory responses to the letters from in-house

counsel, outside counsel for Plaintiffs sent an additional letter on May 7, 2021, again requesting

that Mr. Mazzone change the name of his business and warning that Plaintiffs would commence

legal action, including the filing of a motion for preliminary injunction, absence compliance.

        45.     Despite Plaintiffs’ repeated warnings and attempts to reach a resolution without

the need for litigation, Defendants continue to use the MAZZONE WEDDING Marks in

violation of Plaintiffs’ rights.


                                   FIRST CLAIM FOR RELIEF

       Unfair Competition and False Designation of Origin Under 15 U.S.C. § 1125(a)

        46.     Plaintiffs repeat and reallege the averments contained in foregoing Paragraphs as

if fully set forth herein again.

        47.     Defendants’ conduct alleged above is likely to cause confusion, or to cause

mistake, or to deceive as to the affiliation, connection, or association of Defendants with

Plaintiffs, or as to the origin, sponsorship, or approval of Defendants’ services, or commercial

activities Plaintiffs, and therefore constitutes unfair competition and false designations of origin

in violation of Section 43(a) of the Lanham Act, 15 U.S.C.§ 1125(a).
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         48.    By their unauthorized use of the service marks, trade names, and designations

“Mazzone Wedding Group” and “Mazzone Weddings” in connection with their hospitality and

event planning services and on marketing and advertising materials, Defendants have falsely

designated the origin of their services, and competed unfairly with Plaintiffs, in violation of 15

U.S.C. § 1125(a).

         49.    On information and belief, Defendants’ acts of false designation of origin and

unfair competition have been done willfully and deliberately.

         50.    Plaintiffs have been damaged and/or is likely to be damaged by the wrongful

conduct of defendants.

         51.    Defendants’ violations of 15 U.S.C. § 1125(a) entitle Plaintiffs to recover

damages, including but not limited to, Defendants’ profits from the sale of all infringing services,

actual damages, treble damages, corrective advertising damages, litigation costs, and attorneys’

fees.

         52.    Defendants’ willful and deliberate acts described above have caused irreparable

injury to Plaintiffs’ goodwill and reputation, and, unless enjoined, will cause further irreparable

injury, whereby Plaintiffs have no adequate remedy at law.

                                   SECOND CLAIM FOR RELIEF

                 Trademark Dilution Under New York Gen. Bus. Law § 360-1

         53.    Plaintiffs repeat and reallege the averments contained in foregoing Paragraphs as

if fully set forth herein again.

         54.    This claim is for injury to goodwill and business reputation pursuant to New York

General Business Law Section 360-1, as amended.

         55.    The MAZZONE marks are distinctive within the meaning of New York General
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Business Law Section 360-1.

        56.     Defendants’ conduct alleged above causes injury to the goodwill and business

reputation of Plaintiffs and their MAZZONE marks and creates a likelihood of dilution of the

distinctive quality of those marks in violation of New York General Business Law Section 360-

1.

        57.     Defendants’ acts described above have caused injury and damages to Plaintiffs,

and has caused irreparable injury to Plaintiffs’ goodwill and business reputation and, unless

enjoined, will cause further irreparable injury, whereby Plaintiffs have no adequate remedy at

law.

                                   THIRD CLAIM FOR RELIEF

        Trademark Infringement and Unfair Competition Under State Common Law

        58.     Plaintiffs repeat and reallege the averments contained in foregoing Paragraphs as

if fully set forth herein again.

        59.     Defendants’ use of the service marks, trade names, and designations “Mazzone

Wedding Group” and “Mazzone Weddings” in connection with their hospitality and event

planning services and on marketing and advertising materials, as alleged above, constitutes

trademark infringement and unfair competition in violation of the common law of the State of

New York.

        60.     On information and belief, Defendants’ acts of common law trademark

infringement and unfair competition have been done willfully and deliberately and Defendants

have profited and been unjustly enriched by sales that Defendants would not otherwise have

made but for their unlawful conduct.

        61.     Defendants’ acts described above have caused injury and damages to Plaintiffs,
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and have caused irreparable injury to Plaintiffs’ goodwill and reputation and, unless enjoined,

will cause further irreparable injury, whereby Plaintiffs have no adequate remedy at law.

                                   FOURTH CLAIM FOR RELIEF

              Deceptive Acts and Practices Under New York Gen. Bus. Law § 349

        62.      Plaintiffs repeat and reallege the averments contained in foregoing Paragraphs as

if fully set forth herein again.

        63.      This claim is for deceptive acts and practices under New York General Business

Law Section 349.

        64.      Defendants’ use of the trademarks, trade name, and designations “Mazzone

Wedding Group” and “Mazzone Weddings” in connection with their hospitality and event

planning services and on marketing and advertising materials, as alleged above, constitutes a

deceptive act and practice in violation of New York General Business Law Section 349.

        65.      On information and belief, Defendants’ unlawful conduct has been willful and

deliberate and Defendants have profited and been unjustly enriched by sales that Defendants

would not otherwise have made but for their unlawful conduct.

        66.      Defendants’ intentional and wrongful acts described above have caused injury and

damages to Plaintiffs, and have caused irreparable injury to Plaintiffs’ goodwill and reputation

and, unless enjoined, will cause further irreparable injury, whereby Plaintiffs have no adequate

remedy at law.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that this Court enter judgment against Defendants as

follows:

        1.       Ordering that Defendants be adjudged to have violated Section 43(a) of the
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Lanham Act, 15 U.S.C. § 1125(a), to have committed acts of trademark infringement and unfair

competition in violation of New York common law, to have caused trademark dilution in

violation of New York Gen. Bus. Law § 360-1, to have committed unfair competition and

deceptive acts and in violation of New York Gen. Bus. Law § 349, and to have committed

breaches of contract in violation of state common law;

       2.      Ordering an accounting of all gains, profits, savings and advantages realized by

Defendants from their aforesaid acts of false designation of origin, trademark infringement,

unfair competition, and deceptive acts and practices;

       3.      Awarding such damages as Plaintiffs shall establish in consequence of

Defendants’ aforesaid acts of false designation of origin, trademark infringement, unfair

competition, and deceptive acts and practices, including three times the amount found as actual

damages by the trier of fact to properly compensate Plaintiffs for their damages, pursuant to 15

U.S.C. § 1117(a), and, pursuant to New York Gen. Bus. Law § 349(h), statutory damages of

$1,000 for each violation, together with appropriate interest thereon;

       4.      Awarding punitive damages on Plaintiffs’ common law claims in an amount to be

determined by the trier of fact for Defendants’ willful and unauthorized use of Plaintiffs’ Marks;

       5.      Granting a preliminary and permanent injunction restraining Defendants, their

officers, directors, agents, employees, servants, attorneys, successors, assigns, and others

controlling, controlled by or affiliated with them and all those in privity or active concert or

participation with any of the foregoing, and all those who receive actual notice by personal

service or otherwise:

            a. from using, orally or in writing, the trade names, service marks, or designations

               “Mazzone Wedding Group” and “Mazzone Weddings” or any other name, word,
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               mark or designation confusingly similar to Plaintiffs’ MAZZONE Marks, for any

               and all products or services;

            b. from using, orally or in writing, or applying for registration of, any trade names,

               trademarks, service marks, logos, insignias, or designations containing the words

               “Mazzone Wedding Group” and “Mazzone Weddings” or anything similar thereto

               or derivative thereof, either alone or in conjunction with other words or symbols

               for any and all products or services;

            c. from representing that the “Mazzone Wedding Group” and “Mazzone Weddings”

               originates with, is sponsored by, emanates from, or otherwise is associated with

               Plaintiffs or the source of the Mazzone Catering and Mazzone Hospitality brand;

               and

            d. from otherwise competing unfairly with Plaintiffs.

       6.      Ordering that, pursuant to Section 34(a) of the Lanham Act, 15 U.S.C. § 1116(a),

Defendants shall serve upon Plaintiffs within thirty (30) days after service on Defendants of an

injunction, or such extended period as the Court may direct, a report in writing under oath setting

forth in detail the manner and form in which Defendants have complied with the injunction;

       7.      Ordering Defendants to recall from publication, distribution, or dissemination,

and deliver up for destruction, all advertising, marketing, promotional pieces, and other items,

the dissemination of which by Defendants would violate the injunction herein granted;

       8.      Awarding Plaintiffs their costs and expenses of this action;

       9.      Declaring that this is an exceptional case, pursuant to 15 U.S.C. § 1117, because

of the willful and deliberate nature of Defendants’ acts of false designation of origin and unfair

competition, and awarding Plaintiffs their reasonable attorneys’ fees;
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       10.    Awarding Plaintiffs their reasonable attorneys’ fees; and

       11.    Granting such other and further relief as this Court may deem just and proper.

Dated: July 14, 2021

                                       BARCLAY DAMON LLP


                                       /s/ David M. Cost
                                       David M. Cost
                                       Bar Roll No.: 514417

                                       Office & Post Office Address
                                       80 State Street
                                       Albany, New York 12207
                                       Telephone: (518) 429-4286
                                       Facsimile: (518) 533-2913
                                       E-mail: dcost@barclaydamon.com


                                       KILPATRICK TOWNSEND & STOCKTON LLP
                                       William M. Bryner (pro hac vice application to be filed)
                                       1001 West Fourth Street
                                       Winston-Salem, NC 27101
                                       Telephone: (336) 607-7300
                                       Fax: (336) 607-7500
                                       WBryner@KilpatrickTownsend.com

                                       Crystal Genteman (pro hac vice application to be filed)
                                       Erica C. Chanin (pro hac vice application to be filed)
                                       1100 Peachtree Street, Suite 2800
                                       Atlanta, Georgia 30309
                                       Telephone: (404) 815-6500
                                       Fax: (404) 745-8673
                                       CGenteman@KilpatrickTownsend.com
                                       EChanin@KilpatrickTownsend.com

                                       Attorneys for Plaintiff Compass Group USA, Inc. and
                                       Mazzone Hospitality, LLC
Case
 Case1:21-cv-00801-BKS-ML
      1:21-cv-00801-BKS-ML Document
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Document title:                  Weddings and Events - Experience the Difference | Mazzone Hospitality

Capture URL:                     https://mazzonehospitality.com/

Captured site IP:                192.196.157.145

Page loaded at (UTC):            Tue, 13 Jul 2021 17:34:36 GMT

Capture timestamp (UTC):         Tue, 13 Jul 2021 17:36:31 GMT

Capture tool:                    v7.9.1

Collection server IP:            52.7.109.102

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      2

Capture ID:                      55688f68-2458-42d4-b3ea-25c81071973f

User:                            kts-nsmith




                        PDF REFERENCE #:            2udHf8zULxAEyWhygT49er
                          Case
                           Case1:21-cv-00801-BKS-ML
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                                                      Document9-4
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Document title: Weddings and Events - Experience the Difference | Mazzone Hospitality
Capture URL: https://mazzonehospitality.com/
Capture timestamp (UTC): Tue, 13 Jul 2021 17:35:09 GMT                                             Page 1 of 1
                          Case
                           Case1:21-cv-00801-BKS-ML
                                1:21-cv-00801-BKS-ML Document
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Document title: Weddings and Events - Experience the Difference | Mazzone Hospitality
Capture URL: https://mazzonehospitality.com/
Capture timestamp (UTC): Tue, 13 Jul 2021 17:35:28 GMT                                             Page 1 of 1
                          Case
                           Case1:21-cv-00801-BKS-ML
                                1:21-cv-00801-BKS-ML Document
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Document title: Weddings and Events - Experience the Difference | Mazzone Hospitality
Capture URL: https://mazzonehospitality.com/
Capture timestamp (UTC): Tue, 13 Jul 2021 17:35:48 GMT                                             Page 1 of 1
                          Case
                           Case1:21-cv-00801-BKS-ML
                                1:21-cv-00801-BKS-ML Document
                                                      Document9-4
                                                               1-1 Filed
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Document title: Weddings and Events - Experience the Difference | Mazzone Hospitality
Capture URL: https://mazzonehospitality.com/
Capture timestamp (UTC): Tue, 13 Jul 2021 17:36:09 GMT                                             Page 1 of 1
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Document title: Weddings and Events - Experience the Difference | Mazzone Hospitality
Capture URL: https://mazzonehospitality.com/
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                          Case
                           Case1:21-cv-00801-BKS-ML
                                1:21-cv-00801-BKS-ML Document
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Document title: Weddings and Events - Experience the Difference | Mazzone Hospitality
Capture URL: https://mazzonehospitality.com/
Capture timestamp (UTC): Tue, 13 Jul 2021 17:36:31 GMT                                             Page 1 of 1
Case
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      1:21-cv-00801-BKS-ML Document
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    EXHIBIT B
           Case
            Case1:21-cv-00801-BKS-ML
                 1:21-cv-00801-BKS-ML Document
                                       Document9-4
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Document title:                  World Class Gourmet Catering for Weddings and Events | Mazzone Catering

Capture URL:                     https://mazzonecatering.com/

Captured site IP:                192.196.157.145

Page loaded at (UTC):            Tue, 13 Jul 2021 16:57:09 GMT

Capture timestamp (UTC):         Tue, 13 Jul 2021 17:02:09 GMT

Capture tool:                    v7.9.1

Collection server IP:            52.7.109.102

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      5

Capture ID:                      4eda9f9a-13a3-45c6-88e7-9aa408cec500

User:                            kts-nsmith




                        PDF REFERENCE #:            h75AoZQeUAWbkv3Nhe5QZe
                         Case
                          Case1:21-cv-00801-BKS-ML
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Document title: World Class Gourmet Catering for Weddings and Events | Mazzone Catering
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Document title: World Class Gourmet Catering for Weddings and Events | Mazzone Catering
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    EXHIBIT C
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       Generated on: This page was generated by TSDR on 2021-07-13 15:49:45 EDT
                 Mark: MAZZONE HOSPITALITY




  US Serial Number: 90579735                                                        Application Filing Mar. 15, 2021
                                                                                                Date:
       Filed as TEAS Yes                                                              Currently TEAS Yes
                Plus:                                                                           Plus:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.

               Status: New application will be assigned to an examining attorney approximately 3 months after filing date.
         Status Date: Jun. 15, 2021



                                                                   Mark Information
          Mark Literal MAZZONE HOSPITALITY
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Catering services
         International 043 - Primary Class                                              U.S Class(es): 100, 101
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Dec. 31, 2007                                               Use in Commerce: Dec. 31, 2007

                                                       Basis Information (Case Level)
            Filed Use: Yes                                                             Currently Use: Yes
            Filed ITU: No                                                               Currently ITU: No
            Filed 44D: No                                                               Currently 44E: No
            Filed 44E: No                                                              Currently 66A: No
            Filed 66A: No                                                         Currently No Basis: No
      Filed No Basis: No

                                                       Current Owner(s) Information
        Owner Name: Compass Group USA, Inc.
     Owner Address: 2400 Yorkmont Road
                    Charlotte, NORTH CAROLINA UNITED STATES 282174511
                    Case
                    Case1:21-cv-00801-BKS-ML
                         1:21-cv-00801-BKS-ML Document
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   Legal Entity Type: CORPORATION                                        State or Country DELAWARE
                                                                        Where Organized:

                                        Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Kathy Keller
    Attorney Primary kathy.keller@compass-usa.com                          Attorney Email Yes
     Email Address:                                                           Authorized:
                                                                     Correspondent
     Correspondent KATHY KELLER
     Name/Address: COMPASS GROUP USA, INC.
                   2400 YORKMONT ROAD
                   CHARLOTTE, NORTH CAROLINA UNITED STATES 28217
                Phone: 704-328-2838                                                   Fax: 704-295-5389
   Correspondent e- kathy.keller@compass-usa.com legal.trademarks-       Correspondent e- Yes
              mail: copyrights@compass-usa.com                            mail Authorized:
                                                        Domestic Representative - Not Found

                                                        Prosecution History
                                                                                                           Proceeding
   Date              Description
                                                                                                           Number
Jun. 15, 2021      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Mar. 18, 2021      NEW APPLICATION ENTERED IN TRAM

                                          TM Staff and Location Information
                                                             TM Staff Information - None
                                                                     File Location
   Current Location: NEW APPLICATION PROCESSING                          Date in Location: Jun. 15, 2021
Case
Case1:21-cv-00801-BKS-ML
     1:21-cv-00801-BKS-ML Document
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PTO- 1478
Approved for use through 02/28/2021. OMB 0651-0009
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                               Trademark/Service Mark Application, Principal Register
                                                                                                TEAS Plus Application
                                                                                                         Serial Number: 90579735
                                                                                                         Filing Date: 03/15/2021

    NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                                under the facts of the particular application.




                                                                               The table below presents the data as entered.

                                                             Input Field                                                                                      Entered
              TEAS Plus                                                                                                            YES
              MARK INFORMATION
              *MARK                                                                                                                MAZZONE HOSPITALITY
              *STANDARD CHARACTERS                                                                                                 YES
              USPTO-GENERATED IMAGE                                                                                                YES
              LITERAL ELEMENT                                                                                                      MAZZONE HOSPITALITY
                                                                                                                                   The mark consists of standard characters, without claim to any
              *MARK STATEMENT
                                                                                                                                   particular font style, size, or color.
              REGISTER                                                                                                             Principal
              APPLICANT INFORMATION
              *OWNER OF MARK                                                                                                       Compass Group USA, Inc.
              *MAILING ADDRESS                                                                                                     2400 Yorkmont Road
              *CITY                                                                                                                Charlotte
              *STATE
                                                                                                                                   North Carolina
              (Required for U.S. applicants)

              *COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                                          United States
              *ZIP/POSTAL CODE
                                                                                                                                   28217-4511
              (Required for U.S. and certain international addresses)

              PHONE                                                                                                                704-328-2838
              FAX                                                                                                                  704-295-5389
              *EMAIL ADDRESS                                                                                                       XXXX
              LEGAL ENTITY INFORMATION
              *TYPE                                                                                                                CORPORATION
              * STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY OF
                                                                                                                                   Delaware
              INCORPORATION

              GOODS AND/OR SERVICES AND BASIS INFORMATION
              * INTERNATIONAL CLASS                                                                                                043
         Case
         Case1:21-cv-00801-BKS-ML
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*IDENTIFICATION                              Catering services
*FILING BASIS                                SECTION 1(a)
   FIRST USE ANYWHERE DATE                   At least as early as 12/31/2007
   FIRST USE IN COMMERCE DATE                At least as early as 12/31/2007
   SPECIMEN FILE NAME(S)

                                             SPE0-717518254-2021031515 5247405096_._Mazzone_Hosp
   ORIGINAL PDF FILE
                                             itality.pdf

   CONVERTED PDF FILE(S)                     \\TICRS\EXPORT18\IMAGEOUT
   (3 pages)                                 18\905\797\90579735\xml1\ FTK0003.JPG

                                             \\TICRS\EXPORT18\IMAGEOUT
                                             18\905\797\90579735\xml1\ FTK0004.JPG

                                             \\TICRS\EXPORT18\IMAGEOUT
                                             18\905\797\90579735\xml1\ FTK0005.JPG
   SPECIMEN DESCRIPTION                      website advertising of services
   WEBPAGE URL                               www.mazzonehospitality.com
   WEBPAGE DATE OF ACCESS                    03/15/2021
ADDITIONAL STATEMENTS INFORMATION
*TRANSLATION
(if applicable)

*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION
(if applicable)

*CONSENT (NAME/LIKENESS)
(if applicable)

*CONCURRENT USE CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                                         Kathy Keller
ATTORNEY BAR MEMBERSHIP NUMBER               XXX
YEAR OF ADMISSION                            XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY          XX
FIRM NAME                                    Compass Group USA, Inc.
STREET                                       2400 Yorkmont Road
CITY                                         Charlotte
STATE                                        North Carolina
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY   United States
ZIP/POSTAL CODE                              28217
PHONE                                        704-328-2838
FAX                                          704-295-5389
EMAIL ADDRESS                                kathy.keller@compass-usa.com
CORRESPONDENCE INFORMATION
        Case 1:21-cv-00801-BKS-ML Document 9-4
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NAME                                            Kathy Keller
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE        kathy.keller@compass-usa.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)   legal.trademarks-copyrights@compass-usa.com
FEE INFORMATION
APPLICATION FILING OPTION                       TEAS Plus
NUMBER OF CLASSES                               1
APPLICATION FOR REGISTRATION PER CLASS          250
*TOTAL FEES DUE                                 250
*TOTAL FEES PAID                                250
SIGNATURE INFORMATION
* SIGNATURE                                     /kathy keller/
* SIGNATORY'S NAME                              Kathy Keller
* SIGNATORY'S POSITION                          Attorney of record, CA bar member
SIGNATORY'S PHONE NUMBER                        704-328-2838
* DATE SIGNED                                   03/15/2021
SIGNATURE METHOD                                Sent to third party for signature
                                Case 1:21-cv-00801-BKS-ML Document 9-4
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U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number




                                                                Trademark/Service Mark Application, Principal Register

                                                                                                       TEAS Plus Application

                                                                                                         Serial Number: 90579735
                                                                                                         Filing Date: 03/15/2021
To the Commissioner for Trademarks:

MARK: MAZZONE HOSPITALITY (Standard Characters, see mark)
The literal element of the mark consists of MAZZONE HOSPITALITY. The mark consists of standard characters, without claim to any
particular font style, size, or color.
The applicant, Compass Group USA, Inc., a corporation of Delaware, having an address of
    2400 Yorkmont Road
    Charlotte, North Carolina 28217-4511
    United States
    704-328-2838(phone)
    704-295-5389(fax)
    XXXX

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
International Class 043: Catering services

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.

In International Class 043, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 12/31/2007, and first used in commerce at least as early as 12/31/2007, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) website advertising of services.

Original PDF file:
SPE0-717518254-2021031515 5247405096_._Mazzone_Hosp itality.pdf
Converted PDF file(s) (3 pages)
Specimen File1
Specimen File2
Specimen File3

Webpage URL: www.mazzonehospitality.com
Webpage Date of Access: 03/15/2021



The owner's/holder's proposed attorney information: Kathy Keller. Kathy Keller of Compass Group USA, Inc., is a member of the XX bar,
admitted to the bar in XXXX, bar membership no. XXX, is located at
   2400 Yorkmont Road
   Charlotte, North Carolina 28217
   United States
   704-328-2838(phone)
   704-295-5389(fax)
   kathy.keller@compass-usa.com
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Kathy Keller submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of a
U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.
The applicant's current Correspondence Information:
   Kathy Keller
    PRIMARY EMAIL FOR CORRESPONDENCE: kathy.keller@compass-usa.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): legal.trademarks-copyrights@compass-usa.com


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $250 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /kathy keller/ Date: 03/15/2021
Signatory's Name: Kathy Keller
Signatory's Position: Attorney of record, CA bar member
Signatory's Phone Number: 704-328-2838
Signature method: Sent to third party for signature
Payment Sale Number: 90579735
Payment Accounting Date: 03/15/2021

Serial Number: 90579735
Internet Transmission Date: Mon Mar 15 16:20:01 ET 2021
TEAS Stamp: USPTO/FTK-XX.XX.XX.XXX-20210315162001505
143-90579735-770fe6f4111da75d9e72d7d04e4
eeaada91d82b9a27cb1e2337d95587121fb9c7a-
CC-19593400-20210315155247405096
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       Generated on: This page was generated by TSDR on 2021-07-13 15:51:27 EDT
                 Mark: MAZZONE CATERING




  US Serial Number: 90579700                                                        Application Filing Mar. 15, 2021
                                                                                                Date:
       Filed as TEAS Yes                                                              Currently TEAS Yes
                Plus:                                                                           Plus:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.

               Status: New application will be assigned to an examining attorney approximately 3 months after filing date.
         Status Date: Jun. 15, 2021



                                                                   Mark Information
          Mark Literal MAZZONE CATERING
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Catering services
         International 043 - Primary Class                                              U.S Class(es): 100, 101
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Jan. 31, 2013                                               Use in Commerce: Jan. 31, 2013

                                                       Basis Information (Case Level)
            Filed Use: Yes                                                             Currently Use: Yes
            Filed ITU: No                                                               Currently ITU: No
            Filed 44D: No                                                               Currently 44E: No
            Filed 44E: No                                                              Currently 66A: No
            Filed 66A: No                                                         Currently No Basis: No
      Filed No Basis: No

                                                       Current Owner(s) Information
        Owner Name: Compass Group USA, Inc.
     Owner Address: 2400 Yorkmont Road
                    Charlotte, NORTH CAROLINA UNITED STATES 28217
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   Legal Entity Type: CORPORATION                                        State or Country DELAWARE
                                                                        Where Organized:

                                        Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Kathy Keller
    Attorney Primary kathy.keller@compass-usa.com                          Attorney Email Yes
     Email Address:                                                           Authorized:
                                                                     Correspondent
     Correspondent KATHY KELLER
     Name/Address: COMPASS GROUP USA, INC.
                   2400 YORKMONT ROAD
                   CHARLOTTE, NORTH CAROLINA UNITED STATES 28217
                Phone: 704-328-2838                                                   Fax: 704-295-5389
   Correspondent e- kathy.keller@compass-usa.com legal.trademarks-       Correspondent e- Yes
              mail: copyrights@compass-usa.com                            mail Authorized:
                                                        Domestic Representative - Not Found

                                                        Prosecution History
                                                                                                           Proceeding
   Date              Description
                                                                                                           Number
Jun. 15, 2021      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Mar. 18, 2021      NEW APPLICATION ENTERED IN TRAM

                                          TM Staff and Location Information
                                                             TM Staff Information - None
                                                                     File Location
   Current Location: NEW APPLICATION PROCESSING                          Date in Location: Jun. 15, 2021
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                                               Trademark/Service Mark Application, Principal Register
                                                                                                TEAS Plus Application
                                                                                                         Serial Number: 90579700
                                                                                                         Filing Date: 03/15/2021

    NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                                under the facts of the particular application.




                                                                               The table below presents the data as entered.

                                                             Input Field                                                                                      Entered
              TEAS Plus                                                                                                            YES
              MARK INFORMATION
              *MARK                                                                                                                MAZZONE CATERING
              *STANDARD CHARACTERS                                                                                                 YES
              USPTO-GENERATED IMAGE                                                                                                YES
              LITERAL ELEMENT                                                                                                      MAZZONE CATERING
                                                                                                                                   The mark consists of standard characters, without claim to any
              *MARK STATEMENT
                                                                                                                                   particular font style, size, or color.
              REGISTER                                                                                                             Principal
              APPLICANT INFORMATION
              *OWNER OF MARK                                                                                                       Compass Group USA, Inc.
              *MAILING ADDRESS                                                                                                     2400 Yorkmont Road
              *CITY                                                                                                                Charlotte
              *STATE
                                                                                                                                   North Carolina
              (Required for U.S. applicants)

              *COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                                          United States
              *ZIP/POSTAL CODE
                                                                                                                                   28217
              (Required for U.S. and certain international addresses)

              PHONE                                                                                                                704-328-2838
              FAX                                                                                                                  704-295-5389
              *EMAIL ADDRESS                                                                                                       XXXX
              LEGAL ENTITY INFORMATION
              *TYPE                                                                                                                CORPORATION
              * STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY OF
                                                                                                                                   Delaware
              INCORPORATION

              GOODS AND/OR SERVICES AND BASIS INFORMATION
              * INTERNATIONAL CLASS                                                                                                043
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*IDENTIFICATION                              Catering services
*FILING BASIS                                SECTION 1(a)
   FIRST USE ANYWHERE DATE                   At least as early as 01/31/2013
   FIRST USE IN COMMERCE DATE                At least as early as 01/31/2013
   SPECIMEN FILE NAME(S)

                                             SPE0-717518254-2021031515 5913875619_._Mazzone_Cate
   ORIGINAL PDF FILE
                                             ring.pdf

   CONVERTED PDF FILE(S)                     \\TICRS\EXPORT18\IMAGEOUT
   (4 pages)                                 18\905\797\90579700\xml1\ FTK0003.JPG

                                             \\TICRS\EXPORT18\IMAGEOUT
                                             18\905\797\90579700\xml1\ FTK0004.JPG

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                                             18\905\797\90579700\xml1\ FTK0005.JPG
                                             \\TICRS\EXPORT18\IMAGEOUT
                                             18\905\797\90579700\xml1\ FTK0006.JPG
   SPECIMEN DESCRIPTION                      website advertising of services
   WEBPAGE URL                               www.mazzonecatering.com
   WEBPAGE DATE OF ACCESS                    03/15/2021
ADDITIONAL STATEMENTS INFORMATION
*TRANSLATION
(if applicable)

*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION
(if applicable)

*CONSENT (NAME/LIKENESS)
(if applicable)

*CONCURRENT USE CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                                         Kathy Keller
ATTORNEY BAR MEMBERSHIP NUMBER               XXX
YEAR OF ADMISSION                            XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY          XX
FIRM NAME                                    Compass Group USA, Inc.
STREET                                       2400 Yorkmont Road
CITY                                         Charlotte
STATE                                        North Carolina
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY   United States
ZIP/POSTAL CODE                              28217
PHONE                                        704-328-2838
FAX                                          704-295-5389
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EMAIL ADDRESS                                   kathy.keller@compass-usa.com
CORRESPONDENCE INFORMATION
NAME                                            Kathy Keller
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE        kathy.keller@compass-usa.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)   legal.trademarks-copyrights@compass-usa.com
FEE INFORMATION
APPLICATION FILING OPTION                       TEAS Plus
NUMBER OF CLASSES                               1
APPLICATION FOR REGISTRATION PER CLASS          250
*TOTAL FEES DUE                                 250
*TOTAL FEES PAID                                250
SIGNATURE INFORMATION
* SIGNATURE                                     /kathy keller/
* SIGNATORY'S NAME                              Kathy Keller
* SIGNATORY'S POSITION                          Attorney of record, CA bar member
SIGNATORY'S PHONE NUMBER                        704-328-2838
* DATE SIGNED                                   03/15/2021
SIGNATURE METHOD                                Sent to third party for signature
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                                                                Trademark/Service Mark Application, Principal Register

                                                                                                       TEAS Plus Application

                                                                                                         Serial Number: 90579700
                                                                                                         Filing Date: 03/15/2021
To the Commissioner for Trademarks:

MARK: MAZZONE CATERING (Standard Characters, see mark)
The literal element of the mark consists of MAZZONE CATERING. The mark consists of standard characters, without claim to any particular
font style, size, or color.
The applicant, Compass Group USA, Inc., a corporation of Delaware, having an address of
    2400 Yorkmont Road
    Charlotte, North Carolina 28217
    United States
    704-328-2838(phone)
    704-295-5389(fax)
    XXXX

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
International Class 043: Catering services

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.

In International Class 043, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 01/31/2013, and first used in commerce at least as early as 01/31/2013, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) website advertising of services.

Original PDF file:
SPE0-717518254-2021031515 5913875619_._Mazzone_Cate ring.pdf
Converted PDF file(s) (4 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4

Webpage URL: www.mazzonecatering.com
Webpage Date of Access: 03/15/2021



The owner's/holder's proposed attorney information: Kathy Keller. Kathy Keller of Compass Group USA, Inc., is a member of the XX bar,
admitted to the bar in XXXX, bar membership no. XXX, is located at
   2400 Yorkmont Road
   Charlotte, North Carolina 28217
   United States
   704-328-2838(phone)
   704-295-5389(fax)
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   kathy.keller@compass-usa.com

Kathy Keller submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of a
U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.
The applicant's current Correspondence Information:
   Kathy Keller
    PRIMARY EMAIL FOR CORRESPONDENCE: kathy.keller@compass-usa.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): legal.trademarks-copyrights@compass-usa.com


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $250 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /kathy keller/ Date: 03/15/2021
Signatory's Name: Kathy Keller
Signatory's Position: Attorney of record, CA bar member
Signatory's Phone Number: 704-328-2838
Signature method: Sent to third party for signature
Payment Sale Number: 90579700
Payment Accounting Date: 03/15/2021

Serial Number: 90579700
Internet Transmission Date: Mon Mar 15 16:18:26 ET 2021
TEAS Stamp: USPTO/FTK-XX.XX.XX.XXX-20210315161826888
207-90579700-77061c84c2c705c87742d21be1f
089ac1e33774832f6cf09118840e2c2b81017-CC
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Document title: Plan | Mazzone Weddings
Capture URL: https://www.mazzoneweddings.com/contact
Capture timestamp (UTC): Tue, 13 Jul 2021 19:38:30 GMT                                        Page 1 of 1
